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EXHIBIT A

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STATE OF NEW MEX[CO
COUNTY OF SAN JUAN
ELEVENTH JUDICIAL DISTRICT COURT

PRESIDENTIAL HOSPITALITY, LLC, a
New Mexico limited liability company;
ACE DEVELOPMENT, lNC., a New
Mexico corporation; and SAM BLUE, an
individual;

Plaintiirs, NO. D-1116-

D-1116-CV-2017-O1329
VS.

WYNDHAM HOTEL GROUP7 LLC a New
Jersey limited liability company;
BAYMONT INN AND SUITES
FRANCHISE SYSTEMS, [NC., a Delaware
Corporation; and MICROTEL INN AND
SUITES FRANCHIS]NG, INC., a Georgia
Corporation,

Defendants.

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WELDON J. NEFF

Susan Bengston

COMPLAINT FOR VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT;
FRAUDULENT INDUCEMENT; NEGLlGENT MlSREPRESENTATlON;

AND JURY DEMAND

COMES NOW Plaintif`fs Presidential Hospitality, LLC (“Presidential”); Ace Development,

Inc. (“Ace Development”); and Sam Blue (“Mr. Blue”) (collectively “Plaintiffs” or “Franchisees”),

by and through their attorneys, Lewis Roca Rothgerber Chn' stie LLP, and files their Complaint for

violation of the New Mexico Unfair Practices Act, Fraudulent Inducement, and Negligent

Misrepresentation (“Complaint”) against Defendants Wyndham Hotel Group, LLC (“Wyndham”);

Baymont Inn and Suites Franchise Systems, lnc. (“Baymont”); Microtel Inn and Suites Franchising,

Inc. (“Microtel”) (collectively “Defendants” or “Franchisors”), and in support of their claims they

state as follows:

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1. OVERVIEW

l. Wyndham on its own or through its affiliates Baymont and Microtel offers and
sells, and owns and operates, hotels and hotel chains throughout the United States under the
brand names “Baymont lrm,” “Baymont Inn and Suites,” “Baymont Suites,” “Microtel lnn,”
“Microtel Inn and Suites,” and “Microtel Suites.” In contrast to the extensive knowledge and
experience of Defendants, at all relevant times, Presidential, Ace Development, and Mr. Blue had
no knowledge of, and no prior experience in, the hotel business in New Mexico or the United
States generally

2. This action arises out of Mr. Blue’s purchase of a Baymont franchise and a
Microtel franchise (the latter assigned to Presidential and the payments and performance
thereunder guaranteed by Mr. Blue and Ace Development) and the subsequent construction of a
Microtel hotel in Aztec, New Mexico. Wyndham and Microtel through various representations,
promises, omissions, and high-pressure-sales tactics, induced Mr. Blue to purchase a Microtel
franchise Through the same representations, promises, omission, and high-pressure-sales
tactics, Wyndham and Microtel induced Presidential to assume the obligations of the Microtel
franchise agreement and to construct and operate a Microtel Inns and Suites hotel. Through the
same representations, promises, omission, and high-pressure-sales tactics, Wyndham and
Microtel induced Ace Deve|opment and Mr. Blue to guarantee Presidential’s obligations under
the Microtel franchise agreement Wyndham’s and Microtel’s representations were false,
incomplete, and misleading Defendants also failed to disclose complete and timely material
financial and performance information related to the franchise as required by the Federal Trade

Commission. Defendants’ actions caused Plaintiffs substantial damage

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3. Mr. Blue, Presidential, and Ace Development commenced this action to rescind
the Microtel franchise agreement and related documents as void ab initio and to recover
damages, including costs and attorney fees.

I[. THE PARTIES

4. Presidential is a New Mexico limited liability company Presidential owns and
operates a Microtel Inn and Suites Hotel in Aztec, New Mexico

5. Ace Development is corporation organized and existing under the laws of the
State of New Mexico corporation, with its principal place of business at 500 West Main Street,
Suite 200, Farmington, New Mexico, 87410. Ace Development is a member of Presidential.

6. Mr. Blue is the President and sole shareholder of Ace Development and the
Managing Member of Presidential. He resides in Farmington, New Mexico.

7. Upon information and belief7 Defendant Wyndham is a New Jersey limited liability
company that owns, operates, and franchises approximately 8,100 hotels in 79 countries, including
the Baymont lnn and Suites and Microtel Inn and Suites brand hotels. Wyndham is a subsidiary of
Wyndham Worldwide Corporation.

8. Upon information and belief, Defendant Baymont is a corporation organized and
existing under the laws of the State of Delaware, With its principal place of business in
Parsippany, New Jersey. Baymont is a hotel brand with more than 400 midscale hotels located
throughout the United States and Mexico. Baymont is a subsidiary of Wyndham

9. Upon information and belief, Defendant Microtel is a corporation organized and
existing under the laws of the State of Georgia, with its principal place of business in Parsippany,
New Jersey. Microtel is a hotel brand with more than 300 economy hotels throughout the United

States. Microtel is a subsidiary of Wyndham

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111. JURlSDlCTlON AND VEN UE

10. Jurisdiction and venue in this Court are appropriate given that Defendants have
transacted and conducted business in New Mexico, thereby submitting to the jurisdiction of the
Courts of New Mexico as to any cause of action arising from said transactions, pursuant to
NMSA, § 38-3-1.

ll. Jurisdiction and venue in this Court is also proper under NMSA, § 57-28A-l.

IV. FACTUAL BACKGROUND

A. The purchase of the Baymont hotel franchise

12. On or about May 27, 2010, Mr. Blue received a call from a person representing to
work for Wyndham. He told Mr. Blue that Wyndham had learned through a land development
conference that Mr. Blue owned land in Aztec, New Mexico. He also told Mr. Blue that he
wanted to discuss with him the purchase of a hotel franchise

13. Mr. Blue told the Wyndham representative that he Was not interested in investing
in a hotel franchise because he was looking to sell his property

14. The Wyndham representative told Mr. Blue that Wyndham was interested in Mr.
Blue’s property and that the representative told Mr. Blue that he should expect a follow up call
soon.

15. A few days later, Mr. Blue received a call from Gregg Koffler.

l6. Based on information and belief, Gregg Koffler was at all times relevant to this
Complaint the Director of Franchise Sales for Wyndham

17. Mr. Koffler was friendly and showed an interest in Mr. Blue’s business and
personal life_ Mr. Koftler told Mr. Blue that Wyndham was “interested in his property” and that

he wanted to come out to see it. Mr. Koffler did not mention to Mr. Blue that his job at

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Wyndham was to sell hotel franchises Mr. Koffler told Mr. Blue that he would reach out to him
in the next few days with a date he could come out to see the property

18. Based on Mr. Koffler’s representation that Wyndham was interested in his
property, Mr. Blue became excited about the possibility of Selling his property to Wyndham for a
hotel development

19. On or about June 29, 2010, Mr. Koffler traveled to Fannington, New Mexico to
meet with Mr. Blue and see the property During Mr. Koffler’s visit to the property, Mr. Koffler
started soliciting Mr. Blue to purchase a Baymont hotel franchise

20. Mr. Blue, however, told Mr. Koffler that he had spent several years in the
automobile service industry and was not looking to go back into the service industry He further
told Mr. Koffler that he was interested in selling the property

21. To induce Mr. Blue to purchase a Baymont hotel franchise, Mr. Koffler told Mr.
Blue that it Was not a requirement that he operate the hotel. Mr. Koffler told Mr. Blue that since
he owned the land, if he purchased the hotel franchise and built the hotel, he could add value to
the land, and then he could “flip it” and sell it as “turnkey ready” Mr. Koffler told Mr. Blue that
“there would be a line of people interested in purchasing the hotel” and he “guaranteed a buyer
by the time the hotel was built” Mr. Koffler told Mr. Blue that the location Would “knock it out
ofthe ball park.”

22. To further induce Mr. Blue to purchase a Baymont hotel franchise, and to show
Mr. Blue that Wyndham was confident that the hotel would sell upon construction, Mr. Koffler
told Mr. Blue that Wyndham liked the property so much that, not only had Wyndham sent him to
see the property in person, Wyndham would most likely Want to invest in the construction of the

hotel .

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23_ Mr. Koffler then told Mr. Blue that he Would call a Wyndham executive to discuss
a potential investment in the development of the property Mr. Koffler excused himself and
called an alleged Wyndham executive When Mr. Koffler hung up the phone, he told Mr. Blue
that Wyndham was very excited about the property and its potential and that if he purchased the
franchise and built the hotel, Wyndham Would invest $150,000.00 of its own money into the
property Mr. Koffler, however, did not tell Mr. Blue that Wyndham’s $150,000.00 investment
would be in the form ofa loan.

24. Mr. Koffler’s representations and Wyndham’s willingness to invest $150,000.00
of its own money in the development of the property, gave Mr. Blue confidence that his property
was a great location for a hotel and, in turn, confidence that the hotel would appeal to all the
prospective buyers Koffler said would be interested in purchasing the hotel from him.

25. Relying on Mr. Koffler’s representations and Wyndham’s willingness to invest
$150,000.00 of its own money in the development of the property, Mr. Blue gave Mr. Koffler a
$1,000.00 check, from Ace Development, for the Baymont hotel franchise non-refundable
application fee.

26. Around the end of July 20107 Mr. Koffler called Mr. Blue to tell him that his
application for the Baymont hotel had been approved Mr. Blue, however, told Mr. Koffler that
he had reservations about purchasing the Baymont franchise Mr. Blue believed that a
prospective buyer would be dissuaded from purchasing the hotel once the prospective buyer
learned of the cost and complexity of operating a hotel

27. To induce Mr. Blue to purchase a Baymont hotel franchise, Mr. Koffler told Mr.
Blue that he should not worry about the operation side of the hotel because “corporate takes care

of most of it.”

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28. To further induce Mr. Blue to purchase a Baymont hotel franchise_, Mr. Koffler
told Mr. Blue that he should not be concerned with operational costs because Wyndham was
going to have buyers “lined up” for Mr. Blue and he would not have to operate the hotel.

29. To further induce Mr. Blue to purchase a Baymont hotel franchise, Mr. Koffler
then confided in Mr. Blue that his job at Wyndham was on the line and that he needed to sell a
franchise during the quarter or he would certainly lose his job. Mr. Koffler had on prior
occasions complained to Mr. Blue about the demands of his job and the stress on him and his
family

30. Shortly thereafter, Mr. Blue called Mr. Koffler to tell him that based on the
representations he had made about the property, Wyndham’s Willingness to invest $150,000.00
of its own money in the development of the property, and Wyndham’s commitment to find a
buyer for the hotel, he would purchase a Baymont hotel franchise so he could “flip” it

31. On August ll, 2010, Mr. Koffler traveled to Fairnington, New Mexico to meet
with Mr. Blue During their meeting, Mr. Koffler again reassured Mr. Blue that since he owned
the land, purchasing the hotel franchise and building the hotel to “flip” it as turnkey ready was a
good investment opportunity He told Mr. Blue that “this is what l do for a living” and that he
would have “people lined up” to purchase the hotel

32. Relying on Mr. Koffler’s representations and Wyndham’s willingness to invest
3150,000.00 of its own money in the development of the property, Mr. Blue provided Mr.
Koffler with a check for $26,000.00 (again from Ace Developmenty-the initial investment fee
for a Baymont hotel franchise

33, After Mr. Blue provided Mr, Koffler with the initial investment fee, Mr. Koffler

showed Mr. Blue a Development Incentive Note (“Note”), which contained the terms of

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Wyndham’s alleged $150,000.00 investment Mr. Koffler did not give Mr. Blue a copy of the
Note to review. Instead, Mr. Koffler held the Note in the air and pointed to the $150,000.00
reference on the Note Mr. Koffler then provided Mr. Blue with the Note’s signature page and
asked him to execute it Mr. Koffler never explained the terms of the Note to Mr. Blue or told
Mr. Blue that if he defaulted on royalty payments, the Note became a loan.

34. On August 16, 2010, Mr, Blue received via mail, a copy of the Baymont Franchise
Systems, Inc. Franchise Agreement (“Baymont Franchise Agreement”)_

35. On the same date, Mr. Blue executed the Baymont Franchise Agreement for a
Baymont lnn and Suites franchise to be located at Highway 550 and Pepsi Way, Aztec, NM
87401,

36. Baymont never provided Mr. Blue a complete and timely copy if its Franchise
Disclosure Document (“FDD”).

B. The purchase of the Microtel hotel franchise

37. Shortly after Mr. Blue executed the Baymont Franchise Agreement, Mr. Koffler
asked Mr. Blue to accompany him to a meeting to help him sell a hotel franchise to the owner of
a farm equipment dealership in Kirkland, New Mexico Mr. Koffler asked Mr. Blue to vouch for
him and Wyndham. He mentioned to Mr. Blue that his job was very stressful and that he was
having family problems so he needed to make this sale

38. During the sales process for the Baymont hotel franchise, Mr. Koffler befn`ended
Mr. Blue Both in person and on the phone, Mr. Koffler often told Mr. Blue what a great person
he was and that he bragged to his family about him. Mr. Blue felt compelled to help Mr. Koffler

who referred to Mr. Blue as his “fiiend.”

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39. When Mr. Koffler was unsuccessful in selling the a hotel franchise to the
dealership owner in Kirkland, Mr. Koffler turned again to Mr. Blue for help. Mr. Koffler
confided to Mr. Blue that he needed to sell two franchises He told Mr, Blue that if he could not
sell another franchise he was certainly going to be fired and would lose his house and his family

40. Mr. Koffler also told Mr. Blue that his family was in trouble because he had made
some mistakes and owed people money Mr. Koffler made it sound like unless he paid those
people, they would hurt his family and loosing his job would make it impossible for him to pay
them off. Sometime later, Mr. Koffler asked Mr. Blue to borrow money so he could pay off the
people that were threatening his family

41, During the following weeks, Mr. Koffler started frequently soliciting Mr. Blue to
purchase a Microtel Inns and Suites franchise for Durango, Colorado. Mr. Koffler told Mr. Blue
that the franchise Would be for Wyndham’s Microtel Inns and Suites, a new brand that was “their
top money maker_” Mr. Koffler told Mr. Blue that it was “hard to get a Microtel franchise” but
because he was a friend, he could convince Wyndham to grant him a franchise

42. To induce Mr. Blue into purchasing the Microtel franchise, Mr. Koffler again told
Mr. Blue that if he purchased the franchise and built the hotel7 he could “flip it” and sell it as
“tumkey ready.” Mr. Koffler told Mr. Blue that Wyndham would have several buyers ready to
purchase the hotel Mr. Koffler also told Mr. Blue that just like with the hotel in Aztec, he
should not worry about the operation of the hotel because Wyndham was going to have buyers
“lined up” for Mr. Blue and he would not have to operate the hotel.

43. To further induce Mr. Blue to purchase the Microtel franchise, on or about March
17, 2011, Mr. Koffler traveled to Farmington, New Mexico. During his visit, he provided Mr.

Blue an “STR report” dated March 8, 2011 from Smith Travel Research that contained earning

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representations Specifically, the STR report tracked the performance of hotels in Durango,
Colorado from January 2005 to January 2011, including occupancy percentage, ADR (Average
Daily Rate), RevPAR (revenue per available room), supply, demand, and revenue Mr. Koffler
told Mr. Blue that a Microtel hotel would perform as well or better than the hotels in the STR
reportl Mr. Blue considered the earnings representation important because any prospective
purchaser of the hotel would want to purchase a hotel that would perform in par or better than its
competitors

44. Relying on Mr, Koffler’s representations, including the STR report Mr. Blue
agreed to purchase a Microtel Inns and Suites franchise Mr, Koffler asked Mr. Blue to partially
complete the application stating to him that “once they see the 30K check and your assets, they
are not going to be picky” and that he would “j am it through.” Mr. Koffler also asked Mr. Blue to
sign the application but to not date it

45. At the March 17, 2011 meeting, Mr. Blue gave Mr. Koffler a Cashier’s Check
(No. 036138) in the amount of $30,000.00 for the Microtel Inns and Suites initial franchise fee

46. On the same day, Mr. Blue executed a Microtel Inns and Suites Franchising, Inc.
License Agreement (“Microtel Franchise Agreement”) for a Microtel Inns and Suites hotel to be
located in Durango, Colorado. He received a fully executed copy dated March 18, 2011, the
following day

47. A few months later, Mr. Koffler reached out to Mr. Blue to ask him why he had
not started the construction processes for the Baymont Inn and Suites hotel in Aztec, New
Mexico. ln response, Mr. Blue told Mr. Koffler that the cost required to build the Baymont was
starting to sink in and he was not sure he could go through with such an investment Mr. Blue
told Mr. Koffler that he was ok if he lost the Baymont initial investment fee Mr, Blue told Mr.

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Koffler that he was concerned that the debt a prospective buyer would have to assume would
dissuade prospective buyers In response, Mr. Koffler told Mr. Blue that the per unit cost of
building a Microtel was less than the Baymont hotel and he was going to work with Wyndham to
transfer the Microtel franchise Mr. Blue purchased for Durango, Colorado to Aztec, New
Mexico.

48. To induce Mr. Blue to seek the transfer of the Microtel from Durango, Colorado
to Aztec, New Mexico and build the Microtel hotel, Mr. Koffler told Mr. Blue that a Microtel
hotel in Aztec, New Mexico would perform equally as profitable as the hotels in the March 8,
2011 STR report that Mr. Kofiler provided to Mr. Blue

49. Relying on Mr. Koffler’s representations, including his earnings representation for
the hotel, Mr. Blue agreed to seek a transfer of his Microtel hotel franchise from Durango,
Colorado to Aztec, New Mexico and to commence construction of the hotel` To that end, Mr.
Blue sought to obtain and did obtain financing to build the hotel.

50. Microtel never provided Mr. Blue a complete and timely copy of its FDD.

51. Subsequently Mr. Blue, Presidential, and Microtel entered into an Amendment
Assignment and Assumption Agreement (“Assignment Agreement”) pursuant to which, Mr. Blue
and Microtel Inns & Suites Franchising, lnc, transferred the Microtel Franchise Agreement to
Presidential Hospitality, LLC.

52. Presidential executed the Assignment Agreement and dated it on April 10, 2013.

53_ On or about May 7, 2013, Presidential received a fully executed copy of the
Assignment Agreement, but the April 10, 2013 date had been crossed off and replaced with the

May 7, 2013 date

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54. Under the Assignment Agreement, Mr. Blue remained secondarily liable for
Presidential’s performance of the Microtel Franchise Agreement The owners of Presidential
executed a Guaranty attached as an exhibit to the Assignment Agreement under which they
guaranteed Presidential’s performance of the Microtel Franchise Agreement The Assignment
Agreement and Guaranty are “other documentation” as contemplated under NMSA § 57-28A-1_

55. The Assignment Agreement changed certain terms of construction of the hotel set
forth in Microtel Franchise Agreement Among them, the Assignment Agreement changed the
location of the hotel construction from Durango, Colorado to 623 Phoenix Court, Aztec, New
Mexico 87410 and changed the deadline to construct the hotel to April 5, 2014.

56. The Assignment Agreement also changed the amount of the Note Mr. Blue
executed on August ll, 2010 from $150,000.00 to 3105,000.00.

57. On April 26, 2013, Mr. Blue, in his individual capacity and as Managing Member
of Presidential, executed a Development Incentive Note (the “Second Note”) for $105,000.00.
The Second Note superseded and replaced the Note for $150,000.00. The Second Note is “other
documentation” as contemplated under NMSA § 57-28A-l.

58. Presidential entered into the Assignment Agreement, assumed the Microtel
Franchi se Agreement, and built the hotel based on the representations set forth above

59_ Ace Development and Mr. Blue guaranteed Presidential’s performance of the
Microtel Franchise Agreement based on the representations set forth above

C. Wyndham reneged on its promise to find a buyer for the hotel and Mr. Blue is
forced to operate the Microtel hotel

60. As construction on the Microtel hotel was nearing completion, Mr. Blue contacted

Wyndham to find out where Wyndham was in the process of finding a buyer for the hotel. By

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this time, Mr. Koffler was no longer employed by Wyndham. Wyndham responded to Mr. Blue
by telling him that they had no buyers at the time, but would “put the word out.”

61. Mr. Blue was distressed over the fact Wyndham had not found a buyer for the
hotel, and he Would be required to operate the hotel in order to protect his investment Mr. Blue
was unfamiliar with the cost associated with the operation of a hotel because Microtel never
provided Mr. Blue with its FDD. Also, Mr. Blue had relied on Mr. Koffler’s representation that
he did not need to learn the ins and outs of operating a hotel because Wyndham was going to
have “buyers lined up” to purchase the hotel upon completion

62. Constructi on of the Microtel hotel was completed on or about October 3, 2013.

63. Since the completion of the hotel on or about October 3, 2013, Mr. Blue has
contacted Wyndham on several occasions requesting an update on Wyndham’s effort to find a
buyer for the Microtel hotel. On more than one occasion, he spoke with Joe Luck, a then VP of
Franchise Development Managed for Wyndham. Based on information and belief, Wyndham
never intended or tried to find a buyer for the Microtel hotel as Mr. Koffler promised Mr.
Koffler’s representations and promises were only intended to induce Mr. Blue to purchase the
hotel franchises and construct the hotel, so that Wyndham could collect on royalty payments for
20 years. They were also intended to induce Presidential to execute the Assignment Agreement
and built the hotel, and to induce Mr. Blue and Ace to guaranty Presidential’s performance of the
Microtel Franchise Agreement

64. Since its opening on or about October 3, 2013, the Microtel hotel has not
performed on par or better than the hotels that listed in the March 8, 2011 STR report ln fact, the
Microtel hotel has maintained an occupancy rate of about 45% +/- and has operated in the red
since opening its doors.

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D. Mr. Koffler telephone conversation with Mr. Blue

65. During a telephone conversation between Mr. Blue and Mr. Koffler on June 6,
2016, which Mr. Blue recorded, Mr. Koffler apologized to Mr. Blue for the way he treated him
and the tactics he employed to persuade Mr. Blue to purchase the hotel franchise and build the
hotel, including the alleged threat of physical harm to his family if he didn’t keep his job and pay
off his obligations

“I want you to know we’re good . . . and I apologize for the
concern I caused you. lt wasn’t . . . that was an unintended
consequence of my confiding in you. But l want you to know that
it turned out okay and that I really appreciate you calling me and
texting me and reaching out to me after all these years and it just
cements what I originally thought of you as being a guy of the
highest integrity; as somebody who l respect and furthermore I
like.”

>l<*>l<

“SB: . . . I know we can’t turn the clock back but you really
needed the money then, was someone screwing with your family
Well you basically said I’m hurting . . .

GK: Yeah.

SB: l . . so. . .

GK: So, I owed the guy money, right?

SB: Uh-huh.”

>l=**

“GK: F or previous [inaudible] and not a very nice guy, but l really
had no choice Again, not one of my finer moments And the
threat was hey either you pay me or l’ll come knock on your door; l
know where you live and I am going to tell your wife exactly
what’s going on here and you knoW, Who knows what else Was
going to happen That kind of thing, right'?

SB: Yeah.

GK: And so you know, that kind of threat I don’t take mildly, right
because this is the kind of individual who was going to do what he
said he was going to do. And so I ended up borrowing money from
my sister to essentially pay this guy off and make him go away

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GK: Yeah. Well look, I confided you in Sam [sic] because l felt
like we were friends, right?

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SB: Yeah.

GK: . . . I felt a strong connection to you, as I still do and so I
shared it With you. Again, not my finest moment but you know
when you are desperate you do things that you may not do
otherwise Right?”

>l<**

66. Mr. Koffler also admitted that using high pressure tactics was part of Wyndham’s

sales culture:

“GK: I agree and I’ll tell you what Sam, you know I’ve been in the
same line of work ever since right, just with different companies
Everybody is cool right? Everybody is cool. Windham [sic] is not
cool.

SB: Right

GK: I’ve never had this situation since and I’ve been gone from
Windham [sic] for what, five years now?”

**=l<

“SB: And then . . . and bear with me on this, because l mean
nothing personalized but whether I wanted to take a year thinking
about the licensing or two years or five years, they should not lean
on a sales executive that is very intelligent and been devoted to
their lying and I’d be the next customer that you’re almost . . . well
basically going to get to fired [sic] if you don’t sell two more
licenses or three more, is that should be their problem [sic]. It
shouldn’t be your problem. lt shouldn’t trickle down to me You
know they’re just not . . . you now they are putting themselves
above everyone else

GK: Yeah, Iknow.”

67_ Mr. Koffler also apologized to l\/lr, Blue for Wyndham not following through with
its promises:

“...believe me I was one of the most honest guys out there doing
what I was doing right And to hear that they’re not holding up
their end of the bargain, it’s terrible right And they used us to
[inaudible] their own cause and then they don’t follow through on
their promises to the developers[.]”

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68. On or about June 2016, Mr. Koffler sent Mr. Blue an invoice for “consulting
wor .” Mr. Koffler attempted to bill Mr. Blue $10,000.00 for work he performed while
employed by Wyndham and for work Mr. Koffler had represented was services Wyndham
performed for franchisees For example, Mr. Koffler billed Mr. Blue for the following work:

a. “Consulting time & advice locating the qualified feasibility firm of
Spunier Consulting and coordinate this contact”

b. “Consulting time & advice for Locating [sic] the qualified Management
Firm of SKY Management vs The [sic] time delay & required training to become an owner
operator and coordinate this contact.”

c. Consulting time to recommend involving investors in order to encourage
the project to an actual build out vs exploratory only & losing the license fee Moneys [sic].”

d. “Consulting time to identify & recommend a cost saving idea to tamper
the financial pause of building a hotel. The Microtel would be about 100,000.00 +/- cheaper to
do build, therefore the recommendation.”

e. “License transferee; Placed all the phone calls and or emails associated
with the request to switch the CO Microtel license to Aztec NM, essentially provided 100% of
the required effort/work.”

69. Mr. Koffler also sought to invoice Mr. Blue for his travel costs associated with
travel to Aztec, New Mexico.

70. Mr. Koffler’s conduct is evidence of his modus operandi and his and Wyndham’s

practice of deceit on franchisees

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E. The Franchise Rule
71. The Federal Trade Commission (“FTC”) promulgated the Franchise Rule in 1978,
after it found widespread deception in the sale of franchises and business opportunities through
both material misrepresentations and nondisclosure of material facts, including material
misrepresentations about the nature of the seller and its business operations, the cost to purchase
and operate a franchise, and other contractual terms and conditions under which the business
would operate The FTC found other unfair or deceptive practices pervasive, including
franchisors’ use of false or unsubstantiated earnings claims to lure prospective purchasers into
buying a franchise
72. To prevent deceptive and unfair practices in the sale of franchises the FTC

adopted the Franchise Rule The Franchise Rule requires franchisors to provide prospective
investors with certain information the FTC deemed necessary for investors to make an informed
decision The Franchise Rule permits franchisors to use a uniform disclosure format known as
the Franchise Disclosure Document or FDD (formerly known as the “Uniform Franchise
Of`fering Circular” or “UFOC”). The FDD sets forth 23 Items of disclosure Some of the most
basic Items of disclosure include:

a. Izem 6 requires a detailed disclosure of all other fees payable by the

franchisee to the franchisor or its affiliates or that the franchisor or its affiliates

impose or collect in whole or in part for a third party including but not limited to

royalties, fees for additional training or assistance, advertising cooperatives

accounting and inventory

b. Item 7 requires the franchisor to describe in detail the expenditures the

franchisee should anticipate making on or before the commencement of business

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operations The franchisor must be able to support its estimate from the actual
experience of its franchisors

c. Item 19 concerns “earning claims” or representations of a franchisee’s
prospective financial performance While the FTC permits a franchisor to make
earning claims, the Franchise Rule prohibits the making of earnings claims except
as part of a detailed disclosure in Item 19.

73. ln addition to providing a format for disclosures the Franchise Rule specifies
when a disclosure document must be given to the prospective franchisee Such timing
requirements are intended to ensure that franchisees have a “cooling off’ period in which to
evaluate the disclosure document before paying any monies to the franchisor and before
executing agreements binding on the prospective franchisee

74. Under the Franchise Rule, the prospective franchisee must be provided a
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agreement with, or makes any payment to, the franchisor or an affiliate in connection with the
proposed franchise sale

75. Violations of the Franchise Rule are considered unfair and deceptive acts within
the meaning of Section 5 of the F ederal Trade Commission Act.

76. On or about September 2016, Mr. Blue’s relationship with Microtel and
Wyndham reached a new low. Microtel was threatening litigation and to shut down the hotel’s
reservation system Frustrated with Microtel’s and Wyndham’s conduct, l\/Ir_ Blue started
researching about his rights as a franchisee While doing so, Mr. Blue came across the FTC
website where he read various articles on the duties of franchisors It was While reading these
article that Mr. Blue realized that Defendants failed to comply with their FTC obligations

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V. CLAIMS

COUNT I- UNFAIR AND DECEPTIVE PRACTICE - BASIC DISCLOSURE
(Against All Defendants)

77. Plaintiffs reallege and incorporate by reference the allegations contained in
paragraphs lthrough 76 above as if fully set forth herein

78. Defendants are each a “Franchisor” within the meaning of Part 436 of the
Franchise Rule, 16 C,F,R_ § 436.1 el seq_

79. Defendants are each a Franchise Seller within the meaning of Part 436 of the
Franchise Rule, 16 C.F.R. § 436_1 er seq.

80. Defendants offer franchises for sale Within the meaning of Part 436 of the
Franchise Rule, 16 C.F.R. § 436.1 et seq.

81. Presidential and Mr. Blue are Franchisees Within the meaning of Part 436 of the
Franchise Rule, 16 C.F.R. § 436.1 et seq.

82. At all relevant times, Defendants had prior experience and superior knowledge of
the hotel market and the market value of various brands, both in the New Mexico market and
throughout the United States

83. In contrast with the extensive knowledge and experience of Defendants, at all
relevant times, Plaintiffs had little knowledge of, and no prior experience in, the hotel market in
New Mexico or the United States generally

84_ In connection with the offering for sale and sale of hotel franchises Defendants
failed to provide Plaintiffs with a timely and complete Baymont FDD and Microtel FDD in
violation of Section 436. l(a) of the Franchise Rule and section 5(a) of the FTC Act.

85. A violation of Section 436. l(a) of the Franchise Rule and section 5(a) of the FTC

Act constitutes a violation of the New Mexico Unfair Practices Act (“New Mexico UPA”).

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86. The New Mexico UPA makes “[u]nfair or deceptive trade practices and
unconscionable trade practices in the conduct of trade or commerce unlawful.” NMSA § 57-12-3.
An “unfair or deceptive trade practice is defined as “a false or misleading oral or written
statement, visual description or other representation of any kind knowingly made in connection
with the sale, lease, rental or loan of goods or services . . . by a person in the regular course of the
person's trade or commerce, that may, tends to or does deceive or mislead any person,” including,
but not limited to, “(14) failing to state a material fact if doing so deceives or tends to deceive.”
NMSA § 57-12-2(D).

87. Plaintiffs and Defendants are “person[s]” under NMSA § 57-12-2(A).

88. Defendants’ actions as set forth in this Complaint occurred in the conduct of
“trade” or “ commerce” as defined under NMSA § 57-12-2(C).

89. As described in this Complaint, Defendants engaged in deceptive acts and
practices in the conduct of its trade and business contrary to the terms of the New Mexico UPA.

90. Because Defendants’ unconscionable willful conduct caused actual harm to
Plaintiffs Plaintiffs seek recovery of actual damages, treble damages and reasonable attorney
fees as well as all other proper and just relief available under NMSA § 57-12-10.

COUNT II - UNFAIR AND DECEPTIVE PRACTICE - EARNINGS CLAIM

MISREPRESENTATION
(Against Wyndham and Microtel)

91. Plaintiffs reallege and incorporate by reference the allegations contained in
paragraphs 1 through 90 above as if fully set forth herein

92_ At all relevant times Defendants had prior experience and superior knowledge of
the hotel market and the market value of various brands both in the New Mexico market and
throughout the United States

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93. In contrast With the extensive knowledge and experience of Defendants at all
relevant times Plaintiffs had little knowledge of, and no prior experience in, the hotel market in
New Mexico or the United States generally

94. To induce Mr. Blue to purchase the Microtel franchise, on or about March 17,
2011, Mr. Koffler provided Mr. Blue an “STR report” dated March 8, 2011 from Smith Travel
Research that contained earning representations for hotels in Durango, Colorado. Mr. Koffler
told Mr. Blue that the Microtel hotel would perform as well or better than the hotels in the STR
report

95. To induce Mr. Blue to transfer the Microtel franchise and build the hotel in Aztec,
New Mexico, Mr. Koffler told Mr. Blue that the Microtel hotel in Aztec would perform as well
or better than the hotels in the STR report

96. Mr. Koffler had also represented to Mr. Blue that the location would “knock it out
of the ball par .”

97. Presidential executed the Assignment Agreement and built the Microtel hotel in
reliance of Mr. Koffler’s performance and earnings representation

98_ Ace Development and Mr. Blue guaranteed Presidential’s performance under the
Microtel Franchise Agreement in reliance of Mr. Koffler’s performance and earnings
presentation

99. Plaintiffs’ reliance was reasonable

100_ Wyndham and its affiliate Microtel had a duty to disclose material facts including
a description of the factual basis and the material assumptions underlying its earnings
performance representation

101. Specifically, an earnings performance representation must states:

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a. Material assumptions other than matters of common knowledge,
underlying the claim.

b. A concise summary of the basis for the claim including a statement of
whether the claim is based on actual experience of franchised units and, if so, the percentage of
franchised outlets in operation for the period covered by the earnings claim that have actually
attained or surpassed the stated result;

c. A conspicuous admonition that a new franchisor’s individual financial
results are likely to differ from the result stated in the earnings claim; and

d. A statement that substantiation of the data used in preparing the earnings
claim will be made available to the prospective franchisee on reasonable request

102. Wyndham and Microtel did not have a reasonable basis for representing that the
Microtel hotel if built in Aztec, New Mexi co would perform as well or better than the hotels in the
STR report

103. Wyndham and Microtel’s failure to disclose material information related to its
earnings performance representation is a violation of Section 436.1(a) of the Franchise Rule and
section 5(a) of the FTC.

104. A violation of Section 436. l(a) of the Franchise Rule and section 5(a) of the FTC
Act constitutes a violation of the New Mexico Unfair Practices Act (“New Mexico UPA”)_

105. The New Mexico UPA makes “[u]nfair or deceptive trade practices and
unconscionable trade practices in the conduct of trade or commerce unlawful.” NMSA § 57-12-3.
An “unfair or deceptive trade practice is defined as “a false or misleading oral or written
statement, visual description or other representation of any kind knowingly made in connection
with the sale, lease, rental or loan of goods or services . . . by a person in the regular course of the

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person's trade or commerce, that may, tends to or does deceive or mislead any person,” including,
but not limited to, “(14) failing to state a material fact if doing so deceives or tends to deceive,”
NMSA § 57-12-2(D).

106. Plaintiffs Wyndham, and Microtel are “person[s]” under NMSA § 57-12-2(A).

107. Wyndham’s and l\/licrotel’s actions as set forth in this Complaint occurred in the
conduct of “trade” or “commerce” as defined under NMSA § 57-12-2(C).

108. As described in this Complaint, Wyndham and Microtel engaged in deceptive acts
and practices in the conduct of its trade and business contrary to the terms of the New Mexico
UPA.

109. Because Wyndham’s and Microtel’s unconscionable willful conduct caused
actual harm to Plaintiffs Plaintiffs seek recovery of actual damages treble damages and
reasonable attorney fees as well as all other proper and just relief available under NMSA § 57-
12-10.

COUNT III - FRAUDULENT INDUCEMENT
(Against Wyndham and Microtel)

110. Plaintiffs reallege and incorporate by reference the allegations contained in
paragraphs 1 through 109 above as if fully set forth herein

111. At all relevant times Wyndham and Microtel had prior experience and superior
knowledge of the hotel market and the market value of various brands both in the New Mexico
market and throughout the United States

112. Iri contrast with the extensive knowledge and experience of Wyndham and
Microtel, at all relevant times Plaintiffs had little knowledge of, and no prior experience in, the

hotel market in New Mexico or the United States generally

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113. Wyndham and Microtel, by and through Mr. Koffler while acting in his actual or
apparent authority as a representative of Wyndham, engaged in a course of conduct that included
false, misleading fraudulent statements and representations of facts and high-pressure-sales
tactics including

a. To induce Mr. Blue to purchase a Baymont hotel franchise, on or about June
26, 2010, Mr. Koffler told Mr. Blue that it was not a requirement that he operate the hotel Mr.
Koffler told Mr. Blue that since he owned the land, he can add value to it by purchasing a
franchise and building a hotel, and then “flip” it as “tumkey ready” Mr. Koffler told Mr. Blue
that “there would be a line of people interested in purchasing the hotel” and he “guaranteed a
buyer by the time the hotel was built.” Mr. Koffler told Mr. Blue that the location Would “knock
it out of the ball parki”

b. To induce Mr. Blue to purchase a Baymont hotel franchise, on or about
June 26, 2010, Mr. Koffler told Mr. Blue that he should not worry about the operation side of the
hotel because “corporate takes care of that” and he had a management company lined up to
manage the hotel, which he would propose to prospective buyers to hire once the hotel opened

c. To induce Mr. Blue to purchase a Baymont hotel franchise, on or about
June 26, 2010, Mr. Koffler told Mr. Blue that he should not be concerned with operational costs
because Wyndham was going to have buyers “lined up” for Mr. Blue

d. To induce Mr. Blue to purchase the Baymont hotel franchise, on or about
June 26, 2010, Mr. Koffler then confided in Mr. Blue that his job at Wyndham was on the line
and that he needed to sell a franchise during the quarter or he would certainly lose his job.

e_ To induce Mr. Blue into purchasing the Microtel franchise, on or about
beginning of 2011, Mr. Koffler again told Mr. Blue that if he purchased the Microtel franchise

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and built the hotel, he could then sell it as “tumkey ready.” Mr. Koffler told Mr. Blue that
Wyndham will have several buyers ready to bid on the project Mr. Koffler also told Mr. Blue
that just like with the hotel in Aztec, he should not worry about the operation of the hotel because
Wyndham was going to have buyers “lined up” for Mr. Blue

f. To induce Mr. Blue into purchasing the Microtel franchise, Mr. Koffler
told Mr. Blue that if he could not sell another franchise he was certainly going to be fired and
would lose his house and his family

g To induce Mr. Blue into purchasing the Microtel franchise, Mr. Koffler
told Mr, Blue that his family was in imminent threat of physical harm.

h. To induce Mr. Blue to purchase the Microtel franchise, on or about March
17, 2011, Mr. Koffler provided Mr, Blue an “STR report” dated March 8, 2011 from Smith
Travel Research that contained earning representations Mr. Koffler told Mr. Blue that a
Microtel hotel would perform as well or better than the hotels in the STR report

i. To induce Mr. Blue to seek the transfer of the Microtel from Durango,
Colorado to Aztec, New Mexico and build the Microtel hotel, Mr. Koffler told Mr. Blue that
since he owned the land, he can add value to it by purchasing a franchise and building a hotel,
and then “flip” it as “tumkey ready” Mr. Koffler also told Mr. Blue that a Microtel hotel in
Aztec, New Mexico would perform equally as profitable as the hotels in the March 8, 201 1 STR
report that Mr. Koffler provided to Mr. Blue on or about May 17, 2011.

114, Presidential executed the Assignment Agreement and built the Microtel hotel in

reliance of Mr. Koffler’s performance and earnings representation

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115. Ace Development and Mr. Blue guaranteed Presidential’s performance under the
Microtel Franchise Agreement in reliance of Mr. Koffler’s performance and earnings
presentation

116. Wyndham and Microtel knew the representations set forth above were false when
made

117. Plaintiffs reasonably relied on Wyndham and Microtel’s misrepresentations as
part of the basis for purchasing the franchising and building the Microtel hotel in Aztec, New
Mexico.

118. Mr. Blue Would not have purchased the hotel franchises if Wyndham and Microtel
had fully disclosed all material facts

119. Presidential would not have executed the Assignment Agreement and built the
Microtel hotel if Wyndham and Microtel had fully disclosed all material facts

120. Ace Development and Mr. Blue would not have guaranteed Presidential’s
performance under the Microtel Franchise Agreement if Wyndham and Microtel had fully
disclosed all material facts

121. The misrepresentations made by Wyndham and Microtel were material and made
with (1) the intent of convincing and inducing Mr. Blue to purchase the Microtel hotel franchise;
(2) the intent of convincing and inducing Presidential to execute the Assignment Agreement; and
(3) the intent of convincing and inducing Presidential to build the Microtel hotel so Wyndham
and Microtel can collect royalty payments for 20 years; and (4) the intent of convincing and
inducing Ace Development and Mr. Blue to guaranty Presidential’s performance under the

Microtel Franchise Agreement

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122. Mr. Blue and Presidential reasonably relied on the truth of Wyndham and
Microtel’s statements and representations in making the decision set forth in paragraph 121
above

123. Plaintiffs had a right to rely on Wyndham and Microtel’s statements and
representations

124. As a proximate result of Wyndham and Microtel’s misrepresentations and failure
to disclose material facts that it had a legal duty to disclose, Plaintiffs suffered actual harm by
paying franchise fees to Wyndham and Microtel, building a Microtel hotel that since its opening
has performed in the red, and agreeing to pay royalties to Microtel for 20 years for a hotel that
does not perform in the manner Plaintiffs were told it Would perform.

125. Wyndham and Microtel’s conduct as described herein was willful, wanton,
malicious reckless oppressive and fraudulent, and resulted in substantial harm to Plaintiffs

COUNT IV - NEGLIGENT MISREPRESENTATION
(Against Wyndham and Microtel)

126_ Plaintiffs reallege and incorporate by reference the allegations contained in
paragraphs 1 through 125 above as if fully set forth herein

127. As alleged above, Wyndham and Microtel provided Plaintiffs with misleading
information and omitted disclosing material information it was under an obligation to disclose in
order to guide Plaintiffs’ business decisions for the benefit of Wyndham and Microtel

128. It was reasonably foreseeable by Wyndham and Microtel that Plaintiffs would be
harmed as a result of Wyndham and Microtel’s misrepresentations and omissions of material facts

129. Wyndham and Microtel had no reasonable basis for its misrepresentations and
omissions of material fact and failed to exercise reasonable care in communicating or supplying
material information to Plaintiffs

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130. At all relevant times hereto, Wyndham and Microtel knew that Plaintiffs were the
intended recipients of the information, were receiving the information, and were relying on the
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131. At all relevant times hereto, Wyndham and Microtel intended that Plaintiffs would
rely on the misleading information and omissions of material facts and Plaintiffs did reasonably
rely on their misrepresentations and omissions

132. As a direct and proximate result of their justifiable reliance on the material
information supplied and omissions of material fact, Plaintiffs have suffered substantial monetary
losses arising from Wyndham and Microtel’s conduct

PRAYER FOR RELIEF

WI-IEREFORE, Plaintiffs Presidential Hospitality, LLC; Ace Development, lnc.; and
Sam Blue pray for judgment against Defendants Wyndham Hotel Group, LLC; Baymont Inn and
Suites Franchise Systems lnc.; and Microtel Inns and Suites Franchising, Inc. as follows:

A. Compensatory damages arising from Defendants’ conduct as proven at trial;

B. Punitive damages arising from Defendants’ conduct as proven at tiial;

C. Treble Damages;

D. Rescission of the Microtel F ranchi se Agreement dated March 18, 2011, as void ab
initio and payment of an amount sufficient to restore Mr. Blue and Presidential Hospitality, LLC
to their original position

E. Rescission of the Amendment Assignment and Assumption Agreement dated
Apnl10,2013,asvoulabinnax

F. Rescission of the Guaranty attached as an exhibit to the Amendment Assignment
and Assumption Agreement as void ab initio;

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G. Rescission of the Second Note dated April 26, 2013, as void ab initio;

H. Pre- and post-judgment interest on all damages awarded;

1l Attorney fees and costs and

J. F or such other and further relief as the Court deems just and proper.
JURY DEMAND

Plaintiff demands a jury of six for the trial of this matter.
DATE; September 12, 2017.
Respectfully submitted,
LEWIS ROCA ROTHGERBER CHRIST]E LLP

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